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                           **NOT FOR PRINTED PUBLICATION**

                          IN THE UNITED STATES DISTRICT COURT

                          FOR THE EASTERN DISTRICT OF TEXAS

                                       LUFKIN DIVISION

KEITH ANDREW WILSON                             §

VS.                                             §                 CIVIL ACTION NO. 9:20cv162

LOGAN BOWER, ET AL.                             §

                     ORDER ACCEPTING THE MAGISTRATE JUDGE’S
                          REPORT AND RECOMMENDATION
       Plaintiff Keith Andre Wilson, proceeding pro se, filed the above-styled civil rights lawsuit.

The court referred this matter to the Honorable Zack Hawthorn, United States Magistrate Judge, for

consideration pursuant to 28 U.S.C. § 636 and applicable orders of this court. The Magistrate Judge

has submitted a Report and Recommendation of United States Magistrate Judge recommending this

lawsuit be dismissed without prejudice pursuant to 28 U.S.C. § 1915(g).

       The court has received and considered the Report and Recommendation of United States

Magistrate Judge, along with the record and pleadings. No objections were filed to the Report and

Recommendation.

                                             ORDER

       Accordingly, the findings of fact and conclusions of law of the Magistrate Judge are correct

and the report of the Magistrate Judge is ACCEPTED as the opinion of the court. A final judgment

shall be entered in accordance with the recommendation of the Magistrate Judge.


            So Ordered and Signed
            Nov 6, 2020
